Case 6:22-cv-02048-CEM-LHP     Document 208    Filed 07/02/25   Page 1 of 4 PageID 7739




                             United States District Court
                              Middle District of Florida
                                  Orlando Division


  BEAR WARRIORS UNITED, INC.,
  a Florida Not for Profit Corporation,

              Plaintiff,

  v.                                          No. 6:22-cv-02048

  ALEXIS LAMBERT, in her official
  capacity as Secretary of the
  FLORIDA DEPARTMENT OF
  ENVIRONMENTAL PROTECTION.

              Defendant.


                Unopposed Motion for Special Admission

        Bryan Weir, Esquire, moves for special admission to represent Alexis

  Lambert, in her official capacity as Secretary of the Florida Department of

  Environmental Protection, in this action.

        I am not a member in good standing of the Florida Bar.

        I am a member in good standing of a bar of a United States district court;

  specifically, the Eastern District of Virginia.

        I have not abused the privilege of special admission by maintaining a

  regular law practice in Florida. I have initially appeared in the last thirty-six

  months in these cases in state or federal court in Florida:



                                          1
Case 6:22-cv-02048-CEM-LHP        Document 208      Filed 07/02/25    Page 2 of 4 PageID 7740




  Alachua County Education Association, et al. v. Rubottom, et al., Case No. 1:23-

  cv-00111-MW-HTC (N.D. Fla.)

  Communications Workers of America AFL-CIO, et al. v. Rubottom, et al., Case

  No. 9:24-cv-80073-AMC (S.D. Fla.)

  Hamilton, et al. v. Rubottom, et al., Case No. 3:23-cv-827-TJC-MCR (M.D. Fla.)

  Miami Beach Municipal Employees AFSCME Local 1554, AFL-CIO, et al. v.

  PERC, Case No. 23 CA 1492 (2d Cir., Leon County, Fla.)

  Tobin v. Florida Department of Education, et al., Case No. 4:25-cv-00173 (N.D.

  Fla.)

  Wood v. Florida Department of Education, et al., Case No. 4:23-cv-00526-MW-

  MAF (N.D. Fla.).

          I will comply with the federal rules and this Court’s local rules.

          I am familiar with 28 U.S.C. §1927, which provides:

          Any attorney or other person admitted to conduct cases in any court of
          the United States or any Territory thereof who so multiplies the
          proceedings in any case unreasonably and vexatiously may be required
          by the court to satisfy personally the excess costs, expenses, and
          attorneys’ fees reasonably incurred because of such conduct.

          I have paid the fee for special admission or will pay the fee upon special

  admission.

          I will register with the Court’s CM/ECF system.

          I affirm the oath, which states:

          I will support the Constitution of the United States. I will bear true faith
          and allegiance to the government of the United States. I will maintain
                                               2
Case 6:22-cv-02048-CEM-LHP       Document 208       Filed 07/02/25    Page 3 of 4 PageID 7741




        the respect due to the courts of justice and all judicial officers. I will well
        and faithfully discharge my duties as an attorney and officer of this
        Court. I will conduct myself uprightly and according to the law and the
        recognized standards of ethics of the legal profession.

                                                   /s/ Bryan Weir

                            Memorandum of Law

        This Court’s local rules provide that a “lawyer can move for special

  admission in a case in the Middle District if the lawyer: (1) is not an active

  member in good standing of The Florida Bar, (2) is a member in good standing

  of the bar of a United States district court, (3) has not abused the privilege of

  special admission by maintaining a regular practice of law in Florida, (4) lists

  each case in state or federal court in Florida in which the lawyer has initially

  appeared in the last thirty-six months, and (5) satisfies the requirements for

  obtaining and maintaining membership in the Middle District bar, except the

  requirements of membership in the Florida Bar, submission of an application,

  and payment of a periodic fee.” L.R. 2.01. The above motion satisfies those

  requirements. Defendant respectfully requests that the Court grant this

  motion.




                                              3
Case 6:22-cv-02048-CEM-LHP   Document 208         Filed 07/02/25   Page 4 of 4 PageID 7742




  Dated: July 2, 2025                          Respectfully submitted,

  Jeffrey Brown                                /s/ Bryan Weir
  Department of Environmental                  Bryan Weir
  Protection                                   Consovoy McCarthy PLLC
  390 Commonwealth Blvd., MS 35                1600 Wilson Boulevard, Suite 700
  Tallahassee, Florida 32399-3000              Arlington, VA 22209
  Telephone: (850) 245-2242                    (703) 243-9423
  Jeffrey.Brown@FloridaDEP.gov                 bryan@consovoymccarthy.com

                                               Counsel for Defendant


                        Local Rule 3.01(g) Certification


        I have conferred with the opposing party and represent the opposing

  party does not oppose my special admission.


  Dated: July 2, 2025                                  /s/ Bryan Weir
                                                       Counsel for Defendant




                             Certificate of Service


        On July 2, 2025, I e-filed this motion with the Court via ECF, which

  will email everyone requiring service.

  Dated: July 2, 2025                                  /s/ Jeffrey Brown
                                                       Counsel for Defendant




                                           4
